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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                               Eastern Division

Randy R. Liebich
                                         Plaintiff,
v.                                                      Case No.: 1:11−cv−05624
                                                        Honorable Robert W. Gettleman
Wexford Health Sources, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 2, 2016:


        MINUTE entry before the Honorable Mary M. Rowland: Settlement conference
held on 9/2/16. Settlement not reached, however, the parties made a great deal of progress.
The court made a recommendation regarding a settlement amount. Defense counsel is to
call chambers at (312−435−5358) after he consults with his clients about further authority.
The Court will then contact counsel for the plaintiff. By that time, Plaintiff should have
decided whether or not to accept the court's recommendation. Status set for 9/16/16 at
9:30 AM. Mailed notice. (dm, )




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